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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 REGENERON PHARMACEUTICALS,
 INC.,                                          Case No. 20-CV-10488 (KMK)

               Plaintiff,

        v.                                      ECF Case

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,                      XXXXXXXXXXXX ORDER TO SHOW
                                                [PROPOSED]
                                                CAUSE FOR PRELIMINARY
 ALEX M. AZAR II, in his official capacity      INJUNCTION, TEMPORARY
 as Secretary of the United States Department   RESTRAINING ORDER, AND
 of Health and Human Services,                  EXPEDITED BRIEFING SCHEDULE

 CENTERS FOR MEDICARE AND
 MEDICAID SERVICES, and

 SEEMA VERMA, in her official capacity as
 the Administrator of the Centers for
 Medicare and Medicaid Services,

               Defendants.



       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Regeneron

Pharmaceuticals, Inc. (“Regeneron” or “Plaintiff”) hereby moves against Defendants the United

States Department of Health and Human Services; Alex M. Azar II, in his official capacity as

Secretary of the United States Department of Health and Human Services; Centers for Medicare

and Medicaid Services; and Seema Verma, in her official capacity as the Administrator of the

Centers for Medicare and Medicaid Services (collectively, “Defendants”) for a Preliminary

Injunction, Temporary Restraining Order, and an Expedited Briefing Schedule. As set forth more

fully in the Complaint and in Regeneron’s Memorandum of Law in Support of its Proposed Order

to Show Cause for a Preliminary Injunction, Temporary Restraining Order, and an Expedited
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Briefing Schedule (the “Memorandum of Law”), Regeneron proceeds on the basis that the Most

Favored Nation Rule (the “MFN Rule”), 85 Fed. Reg. 76180 (Nov. 27, 2020), which was issued

on November 20, 2020 and will take effect on January 1, 2021, will cause Regeneron to suffer

irreparable injury absent injunctive relief. The MFN Rule specifically targets Regeneron’s leading

product and will cause Regeneron to incur unrecoverable financial harm, irreversible competitive

and reputational injury, and constitutional injury.

         NOW, upon the accompanying Declaration of Robert Allen, Esq. sworn to on this 1 th

day of December, 2020, as well as Regeneron’s Complaint, the Memorandum of Law, the

Declaration of Richard O’Neal, and the exhibits annexed thereto, it is hereby:

         ORDERED that Plaintiff has demonstrated good cause for setting an expedited briefing

schedule in this proceeding due to the January 1, 2021 implementation date of the MFN Rule;

         ORDERED that Defendants show cause before the Honorable Kenneth
                                                                 _____________,
                                                                         M. Karas U.S.D.J.,

located at the United States Courthouse, 300 Quarropas St., in White Plains, New York, Courtroom

_____,
521.     on _____________________,
              December 22          2020, at ______
                                              10   a.m. / XXXX
                                                          p.m., as to why an Order should not

be issued pursuant to Rule 65 of the Federal Rules of Civil Procedure preliminarily enjoining

and/or temporarily restraining, without bond, Defendants, including their agents, servants,

employees, attorneys, successors and assigns, and all persons acting in concert with them, from

implementing and enforcing the MFN Rule, and vacating and setting the MFN Rule aside;

         IT IS FURTHER ORDERED that Defendants’ answering papers shall be filed and served

upon Plaintiff’s counsel by e-mail not later than the ____
                                                      16th day of December, 2020, and any reply


papers shall be filed and served not later than the 18th
                                                    ____ day of December, 2020.

SO ORDERED this ____
                 11th day of December, 2020.

    It is further ordered that Plaintiff is to serve this order via email on
    Defendants by 12/11/20.                                                    ________________________
                                                                                       U.S.D.J.


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